Case 18-58335-jwc        Doc 65    Filed 02/13/23 Entered 02/13/23 16:15:54             Desc Main
                                   Document      Page 1 of 2



                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                           :
                                                 :       CASE NO. 18-58335-JWC
KENNETH PAUL WELLINGTON,                         :
                                                 :       CHAPTER 7
         Debtor.                                 :
                                                 :

                   NOTICE OF AMENDED TRUSTEE’S FINAL REPORT,
                        DEADLINE TO OBJECT AND HEARING

         S. Gregory Hays, the Chapter 7 Trustee (“Trustee”) for the bankruptcy estate of Kenneth
Paul Wellington, has filed his Amended Trustee’s Final Report on February 06, 2023 [Dkt No.
63], which is summarized in the enclosed Notice of Amended Trustee’s Final Report (NFR) [Dkt
No. 64].

         Pursuant to Second Amended and Restated General Order No. 24-2018, the Court may
consider this matter without further notice or a hearing if no party in interest files a response or
objection within twenty-one (21) days from the date of service of this notice. If you object to the
relief requested in this pleading, you must timely file your objection with the Bankruptcy
Clerk at: Bankruptcy Clerk, U.S. Bankruptcy Court, Suite 1340, 75 Ted Turner Drive, S.W.,
Atlanta, Georgia 30303, and serve a copy on the Trustee, S. Gregory Hays, 2964 Peachtree Road,
NW, Ste 555, Atlanta, GA 30305, and any other appropriate persons by the objection deadline.
The response or objection must explain your position and be actually received by the Bankruptcy
Clerk within the required time.


         A hearing on the pleading has been scheduled for March 30, 2023. The Court will hold an
initial telephonic hearing for announcements on the Final Report at the following number: toll-
free number: 833-568-8864; meeting id: 160 459 5648, at 11:00 A.M., in Courtroom 1203,
United States Courthouse, 75 Ted Turner Drive, S.W., Atlanta, Georgia 30303.


         Matters that need to be heard further by the Court may be heard by telephone, by video
conference, or in person, either on the date set forth above or on some other day, all as determined
Case 18-58335-jwc        Doc 65     Filed 02/13/23 Entered 02/13/23 16:15:54             Desc Main
                                    Document      Page 2 of 2



by the Court in connection with this initial telephonic hearing. Please review the "Hearing
Information" tab on the judge's webpage, which can be found under the "Dial-in and Virtual
Bankruptcy Hearing Information" link at the top of the webpage for this Court,
www.ganb.uscourts.gov for more information.

       If an objection or response is timely filed and served, the hearing will proceed as scheduled.
If you do not file a response or objection within the time permitted, the Court may grant the
relief requested without further notice or hearing provided that an order approving the relief
requested is entered at least one business day prior to the scheduled hearing. If no objection is
timely filed, but no order is entered granting the relief requested at least one business day prior to
the hearing, the hearing will be held as scheduled.

       Your rights may be affected. You should read these papers carefully and discuss them
with your attorney, if you have one in this bankruptcy case. If you do not have an attorney,
you may wish to consult one.

Dated: February 13, 2023.
                                                       S. Gregory Hays
                                                      S. Gregory Hays
                                                      Chapter 7 Trustee
                                                      Hays Financial Consulting, LLC
                                                      2964 Peachtree Road, NW, Ste 555
                                                      Atlanta, GA 30305
                                                      (404) 926-0060
